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                                                                             FILED
                            NOT FOR PUBLICATION
                                                                             MAY 27 2025
                     UNITED STATES COURT OF APPEALS                       MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS


                            FOR THE NINTH CIRCUIT

 RALPH COLEMAN, et al.,                           No. 24-2938

              Plaintiffs - Appellees,             D.C. No.
                                                  2:90-cv-00520-KJM-DB
  v.

 GAVIN NEWSOM, et al.,                            MEMORANDUM*

              Defendants - Appellants.


                    Appeal from the United States District Court
                       for the Eastern District of California
                   Kimberly J. Mueller, District Judge, Presiding*

                        Argued and Submitted May 15, 2025
                             San Francisco, California


Before: S.R. THOMAS, M. SMITH, and BRESS, Circuit Judges.

       State officials (“the State”) appeal from the district court’s March 2024 order

denying the State’s motion to exclude an indicator from the continuous quality

improvement tool (“CQIT”) that tracks a California Department of Corrections and

Rehabilitation (“CDCR”) policy to review patients in psychiatric inpatient

programs on maximum custody. Because the parties are familiar with the factual

       *     This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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and procedural history of this case, we need not recount it here. “We have

jurisdiction to determine whether we have jurisdiction to hear the case.” Aguilar v.

Walgreen Co., 47 F.4th 1115, 1120 (9th Cir. 2022) (quoting Childs v. San Diego

Housing LLC, 22 F.4th 1092, 1095 (9th Cir. 2022)). We dismiss the appeal

because we lack jurisdiction to review the district court’s order.

      The district court’s order is an interim step in an ongoing process to finalize

CQIT. The order directs that an indicator measuring the CDCR’s policy for

reviewing maximum custody patient-inmates in psychiatric inpatient programs be

added to a preliminary list of indicators. The district court has directed the parties

and the Special Master to validate data for each preliminary key indicator before

the list is finalized. Indicators may be added or removed during this process. The

district court will later approve the final list of key indicators and determine an

appropriate compliance threshold for each indicator.

                                           I

      The district court’s order is not a final decision pursuant to 28 U.S.C.

§ 1291. In this “context of postjudgment proceedings in which the district court

has retained jurisdiction to enforce a permanent injunction,” an order deemed final

“should not anticipate any further proceedings on the same issue and should have

some real-world significance.” Flores v. Garland, 3 F.4th 1145, 1151, 1153 (9th

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Cir. 2021). The order on appeal here is not final because it contemplates further

proceedings. The district court plans to issue future orders finalizing the list of key

indicators and setting compliance thresholds. The State can appeal from those later

orders. The order also lacks “real-world significance.” Id. at 1153. The order

does not “govern future interactions” between the State and the plaintiffs, as the

order only requires the State “to put effort into developing constructive solutions to

[its] violations of federal law, which is a step that courts can reasonably require

defendants to take in order to aid them in structuring relief.” Armstrong v.

Schwarzenegger, 622 F.3d 1058, 1065 (9th Cir. 2010).

                                           II

      The district court’s order does not grant or modify an injunction pursuant to

28 U.S.C. § 1292(a)(1). The order’s language does not explicitly grant an

injunction, so to determine jurisdiction we assess whether the order “(1) has ‘the

practical effect of the grant or denial of an injunction’; (2) has ‘serious, perhaps

irreparable consequences’; and (3) can be ‘effectively challenged only by

immediate appeal.’” United States v. El Dorado Cnty., 704 F.3d 1261, 1263 (9th

Cir. 2013) (quoting Thompson v. Enomoto, 815 F.2d 1323, 1326–27 (9th Cir.

1987)). An order “granting ‘some or all of the substantive relief sought by a

complaint’ . . . could qualify as an injunction” while an order that “‘concern[s] the

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conduct of the parties or their counsel’ in litigation” does not. Nat’l Wildlife Fed’n

v. Nat’l Marine Fisheries Serv., 886 F.3d 803, 825 (9th Cir. 2018) (brackets in

original) (quoting In re Lorillard Tobacco Co., 370 F.3d 982, 986–87 (9th Cir.

2004)).

      First, the order does not have the “practical effect” of an injunction. El

Dorado Cnty., 704 F.3d at 1263 (quoting Thompson, 815 F.2d at 1326). It does

not grant substantive relief that the plaintiffs sought in their underlying complaint.

Instead, the order regulates “‘the conduct of the parties or their counsel’ in

litigation” by requiring the State to help validate data to assist in finalizing CQIT.

Nat’l Wildlife Fed’n, 886 F.3d at 825 (quoting In re Lorillard, 370 F.3d at

986–87). Second, the State has not described any serious or irreparable

consequences it will suffer if the court delays review until the list of indicators is

finalized and compliance thresholds are set. Third, this is not a situation where the

order “can be ‘effectively challenged only by immediate appeal’” as the State can

appeal a later final order. El Dorado Cnty., 704 F.3d at 1263 (quoting Thompson,

815 F.2d at 1327). We thus lack jurisdiction pursuant to 28 U.S.C. § 1292(a)(1).




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                                           III

      There is no other basis for jurisdiction. The order is not appealable as a

collateral order because it is not “effectively unreviewable on appeal from a final

judgment.” Plata v. Brown, 754 F.3d 1070, 1075 (9th Cir. 2014) (quoting Will v.

Hallock, 546 U.S. 345, 349 (2006)). We also decline to construe the appeal as a

petition for writ of mandamus. Id. at 1076. “Mandamus is an extraordinary

remedy” that is not warranted here. Id. (quoting Miller v. Gammie, 335 F.3d 889,

895 (9th Cir. 2003) (en banc)). There is no indication that the district court has

“usurped its power or clearly abused its discretion.” Id. The fact that the State can

appeal from a later final order and has not demonstrated that it will be irreparably

damaged or prejudiced by waiting also weighs against granting a writ of

mandamus. See id. (citing Perry v. Schwarzenegger, 591 F.3d 1147, 1156 (9th Cir.

2009), as amended (Jan. 4, 2010)) (listing the factors considered in determining

whether to grant a writ of mandamus). Nor has the State demonstrated that the

errors it claims are “oft-repeated” or “raise[] new and important problems.” Id.

(quoting Perry, 591 F.3d at 1156). Accordingly, we decline to construe the appeal

as a petition for writ of mandamus.

      DISMISSED.1
      1
          The motion to strike portions of Appellants’ reply brief, Dkt. 32, is denied
                                                                          (continued...)

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      1
      (...continued)
as moot.

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